
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 96-1852

                                  DAVID S. KREWSON,

                                Plaintiff - Appellee,

                                          v.

                                FRANCIS FINN, ET AL.,

                               Defendants - Appellees,

                                 ____________________

                                   JOHN MCDONOUGH,

                                Defendant - Appellant.
                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                [Hon. Walter Jay Skinner, Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                            Bownes, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            John F. Farraher, Jr., with whom David C. Jenkins and Dwyer &amp;
            _____________________            ________________     _______
        Jenkins, were on brief for appellant McDonough.
        _______
            Robert L. Hernandez for appellee.
            ___________________
                                 ____________________
                                  February 28, 1997
                                 ____________________
                      Stahl,  Circuit  Judge.    For  the   second  time,
                      Stahl,  Circuit  Judge.
                              ______________

            defendant-appellant  John  McDonough challenges  the district


















            court's  award of  attorneys' fees.   In  Krewson v.  City of
                                                      _______     _______

            Quincy,  74 F.3d 15 (1st Cir. 1996), McDonough lodged a broad
            ______

            ranging  attack on  the  district court's  award  of fees  to

            plaintiff-appellee   David   Krewson,   arguing    that   the

            excessiveness of  the request made any  award unreasonable on

            its face and  that much of  the time  for which the  district

            court  awarded  fees  was  attributable to  claims  on  which

            Krewson did not succeed.   We remanded to the  district court

            the recalculation  of the fee  award, having agreed  with the

            court that an award was justified.   McDonough, still unhappy

            with  the award the  district court has  made, again appeals.

            For  the  second time  he requests  us  to declare  the award

            facially  unreasonable, or  yet again  to remand  for further

            consideration.  We decline McDonough's request and affirm the

            district court's fee assessment.  

                      This  case  arose  after  the  police   in  Quincy,

            Massachusetts, arrested  David Krewson for the  murder of his

            friend and short-term roommate.   After a brief investigation

            the Quincy police questioned,  charged and detained  Krewson.

            After  a  brief  further  investigation,  the  Quincy  police

            dropped all  charges, having  identified the  person actually

            responsible for the crime.

                      A few  days after his release,  Krewson returned to

            the  police station.    While at  the station  he encountered

            McDonough, then  a Quincy detective who  had investigated the



                                         -3-
                                          3















            murder  and  played a  significant  role in  the  decision to

            arrest  and charge Krewson.   McDonough, apparently concerned

            that Krewson  might take legal action  against him, allegedly

            threatened to  "blow off"  Krewson's kneecaps should  he file

            suit.    

                      Undeterred by  McDonough's threat, Krewson  filed a

            complaint against McDonough, two of his immediate supervisors

            and  the City of Quincy  based on alleged  sloppy police work

            that led  to  his arrest  and based  on the  later threat  by

            McDonough.   Krewson claimed  violations of his  civil rights

            under 42 U.S.C.    1983 and Mass. Gen. Laws ch.  12   11I, as

            well  as negligence  under  Mass. Gen.  Laws  ch. 258,  false

            arrest,   false   imprisonment,  assault   and   battery  and

            intentional infliction of emotional distress.  

                      After a four-day trial, the district court directed

            verdicts in favor of both supervisors on all counts, in favor

            of the  city on all but the negligence count, and in favor of

            McDonough  on  all  counts  except those  pertaining  to  the

            kneecap  threat.    The   jury  found  McDonough  liable  for

            intentional   infliction  of   emotional  distress   and  for

            violating  the Massachusetts  Civil Rights  Act, and  awarded

            Krewson a total of $6,500 in damages.

                      Krewson  filed an  application for  attorneys' fees

            under Mass.  Gen. Laws.  ch. 12    11I.   The district  court

            awarded a total of  $80,649.29 in fees and costs.   McDonough



                                         -4-
                                          4















            appealed the fee award,  and we remanded for  a determination

            of  whether  time  spent  on unsuccessful  claims  should  be

            eliminated  from  the fee  award,  and  whether the  cost  of

            Krewson's  expert, Robert  DiGrazia, should be  eliminated as

            relating solely to the unsuccessful  claims.  See Krewson, 74
                                                          ___ _______

            F.3d at 19-20.  

                      On remand  the district court concluded  that a fee

            award  which included time  spent on unsuccessful  as well as

            successful claims was appropriate, and that DiGrazia's expert

            fee was a justifiable  cost.1  On appeal Krewson  attempts to

            resurrect his  prior argument that the  district court should

            have awarded no attorneys' fees  because the amount sought is

            excessive for the result achieved.  We rejected that argument

            in the  first appeal.  See Krewson,  74 F.3d at 16.   The two
                                   ___ _______

            remaining issues  are whether the district  court should have

            awarded  fees for the hours  spent on unsuccessful claims and

            whether the court should have included DiGrazia's fee as part

            of the award.  We find neither issue compelling.

                      We review the district  court's fee award for abuse

            of discretion.  See id. at 17 (quoting Lipsett v. Blanco, 975
                            ___ ___                _______    ______


                                
            ____________________

            1.  In  response to  McDonough's general  arguments regarding
            the  size of the fee claimed, the district court did subtract
            98  hours from  Krewson's request  to reflect  excessive pre-
            trial  preparation,  specifically,  time  spent   on  routine
            motions, reading and indexing depositions and  preparing pre-
            trial memoranda.   We note  that, as  adjusted, the  district
            court  awarded  Krewson  attorneys'  fees in  the  amount  of
            $53,117 and costs in the amount of $13,262.29.    

                                         -5-
                                          5















            F.2d  934,  937  (1st  Cir.  1992)).     The  district  court

            identified a sufficient link between Krewson's successful and

            unsuccessful  claims to  support  a fee  award  that was  not

            reduced for time spent on the unsuccessful claims.  The court

            found  that  McDonough's  threat and  conduct  toward Krewson

            "made no sense  at all  except in  the context  of the  prior

            events and the  deficiencies of police procedure which led to

            [Krewson's] arrest."   The  district court concluded  that in

            order to try his successful claims, Krewson would have had to

            try  the  entire case,  including  evidence  relevant to  the

            unsuccessful claims.     "In  reviewing  determinations  that

            claims are or are  not interrelated for purposes of  an award

            of attorneys' fees, we have exhibited great deference to  the

            trial court's discretion."  Lipsett  v. Blanco, 975 F.2d 934,
                                        _______     ______

            941 (1st Cir. 1992).  The events prior to McDonough's threat,

            which formed the basis for the unsuccessful claims, certainly

            could be viewed as  necessarily linked to the portion  of the

            trial  dealing with the threat.   It was  within the district

            court's   discretion  to   determine  that   without  context

            McDonough's  threat  and  conduct  made little  sense.    The

            district   court's   conclusion   falls  within   its   broad

            discretion.

                      The   district   court   further   concluded   that

            DiGrazia's testimony  "was appropriately part  of [Krewson's]

            effort to show why Detective McDonough had legitimate fear of



                                         -6-
                                          6















            a civil suit, which he tried to forestall by an inappropriate

            threat."  At trial, DiGrazia testified that the investigation

            of the  murder lacked  "correct and accepted  standard police

            practices."   In DiGrazia's  opinion,  the investigation  was

            geared  more  toward  quickly  finding  someone  guilty  than

            reaching proper  conclusions as  to the actual  guilty party.

            DiGrazia further testified that  the Quincy police department

            lacked  adequate  training  and  management.     Finally,  he

            testified that  Detective McDonough lacked  adequate training

            in  the  investigation of  homicides.   If the  jury believed

            DiGrazia,  his testimony would  tend to provide  a motive for

            McDonough's  subsequent conduct  toward  Krewson.    On  this

            record it was well within the district court's discretion  to

            conclude  that  DiGrazia's  opinions  also   established  the

            underlying basis for  McDonough's threat, making that  threat

            more believable.

                      Our prior  decision did not mandate  a reduction to

            account  for Krewson's prosecution of the unsuccessful claims

            or DiGrazia's fee.  We simply remanded for the district court

            to consider those  issues.   See Krewson, 74  F.3d at  19-20.
                                         ___ _______

            The  district court has considered them and we do not find an

            abuse of discretion.   See  id. at 17  (noting that  district
                                   ___  ___

            court's fee award is reviewed for abuse of discretion).    







                                         -7-
                                          7















                      Affirmed.2
                      Affirmed.
                      ________










































                                
            ____________________

            2.  Appellee Krewson  requests fees  on appeal.   Appellee is
            directed to submit a properly detailed petition for appellate
            fees  within  10  days  of  the  issuance  of  this  opinion.
            Appellant McDonough  shall have  10 days thereafter  to raise
            objections  to the fee petition.  We will retain jurisdiction
            for purposes of approving any such fee petition.

                                         -8-
                                          8









